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August 14, 2013

VIA E-MAIL
Hon. Charles A. Legge (Ret.)
JAMS
Two Embarcadero Center
Suite 1500
San Francisco, CA 94111
In re: Cathode Ray Tube (CRT) Antitrust Litigation
Re: No. 07-5944 SC, MDL No. 1917
This Document Relates to: All Actions
Dear Judge Legge:

We write jointly on behalf of plaintiffs' and certain defendants” in this action to seek a
modification to the March 13, 2013 revised scheduling order [Dkt. No. 1595, Attachment A to
this letter].

' The following Direct Action Plaintiffs join in this letter: Electrograph Sys., Inc. v. Hitachi, Ltd., No. 11-cv-01656
(N.D. Cal.); Stoebner v. LG Elecs., Inc., No. 11-cv-05381 (N.D. Cal); Siegel v. Hitachi, Ltd., No. 11-cv-05502 (N.D.
Cal.); Best Buy Co., Inc. v. Hitachi, Ltd., No. 11-cv-05513 (N.D. Cal.); Target Corp. v. Chunghwa Picture Tubes,
Lid., No. 11-cv-05514 (N.D. Cal.); Interbond Corp. of Am. v. Hitachi, Ltd., No. 11-cv-06275 (N.D. Cal.); Office
Depot, Inc. v. Hitachi, Ltd., No. 11-cv-06276 (N.D. Cal.); CompuCom Sys., Inc. v. Hitachi, Ltd., No. 11-cv-06396
(N.D. Cal.); Costco Wholesale Corp. v. Hitachi, Ltd., No. 11-cv-06397 (N.D. Cal.); P.C. Richard & Son Long Island
Corp. v. Hitachi, Ltd., No. 12-cv-02648 (N.D. Cal.); Schultze Agency Servs., LLC v. Hitachi, Ltd., No. 12-cv-02649
(N.D. Cal.); Tech Data Corp, v. Hitachi, Ltd, No. 13-cv-00157 (ND. Cal.); Sharp Elecs, Corp. et al. v. Hitachi, Ltd.
et al., No. 13-cv-01173 (N.D. Cal.); Dell Inc. v. Hitachi Ltd., No. 13-cv-02171 (N.D. Cal.); and Sharp Elecs. Corp.
et al v. Koninklijke Philips Elecs. N.V. et al, No. 13-cv-02776 (N.D. Cal.). Direct Purchaser Plaintiffs and Indirect
Purchaser Plaintiffs join in this letter and stipulation but reserve the right to seek modification of the schedule based
on the status of their respective class certification motions. The California Attorney General joins in this letter, but
only insofar as the close of fact and expert discovery on defendants, the date of expert reports, and mediation are
concerned. All parties reserve their right to seek modification of the schedule based on the number of reports and
motions filed, which is presently uncertain.
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The proposed changes extend the deadlines for expert reports by roughly three to five
months and the remaining existing deadlines, up to and including trial, by roughly five months.
The parties believe these proposed revisions will ensure fairness and efficiency as the case
proceeds and will allow the parties sufficient time to file and respond to expert reports and
dispositive pre-trial motions. The parties expect that a relatively large number of such reports
and motions will be filed given the number of plaintiff groups at issue, i.e., direct and indirect
purchaser plaintiffs, the California Attorney General and the fifteen separate DAP cases, which
will require the additional time proposed.*

For that reason, the parties respectfully request that Your Honor submit the proposed
revised scheduling order [Attachment B] to Judge Conti. For Your Honor’s convenience, a
comparison of the existing schedule and the proposed revision can be found in Attachment C.

Respectfully submitted,

/s/ Jeffrey L. Kessler
Jeffrey L. Kessler
Winston & Strawn LLP
On behalf of Defendants

? The following defendants join in this letter: Panasonic Corp. of North America, MT Picture Display Co., Ltd.,
Panasonic Corp., Beijing-Matsushita Color CRT Co., Ltd., Hitachi, Ltd., Hitachi Displays, Ltd. (n/k/a Japan Display
East, Inc.), Hitachi Asia, Ltd., Hitachi America, Ltd., Hitachi Electronic Devices (USA), Inc., Samsung SDI
America, Inc., Samsung SDI Co., Ltd, Samsung SDI (Malaysia) SDN. BHD., Samsung SDI Mexico S.A. DE C.V.,
Samsung SDI Brasil Ltda., Shenzen Samsung SDI Co., Ltd, Tianjin Samsung SDI Co., Ltd., Koninklijke Philips
N.V., Philips Electronics North America Corp., Toshiba Corp., Toshiba America, Inc., Toshiba America
Information Systems, Inc., Toshiba America Consumer Products, L.L.C., Toshiba America Electronic Components,
Inc., LG Electronics, Inc., LG Electronics USA, Inc., LG Electronics Taiwan Taipei Co., Ltd, Chunghwa Picture
Tubes, Ltd. and Chunghwa Picture Tubes (Malaysia). The following entities are opposing motions to amend certain
DAP complaints and/or contesting personal jurisdiction and do not join in this letter: Technicolor SA (fk/a
Thomson SA), Technicolor USA, Inc. (f/k/a Thomson Consumer Electronics, Inc.), Mitsubishi Electric Corporation,
Mitsubishi Digital Electronics America, Inc., and Mitsubishi Electric US, Inc. (f/k/a Mitsubishi Electric and
Electronics, USA, Inc.). In addition, on August 1, 2013, Special Master Legge entered an Order [Dkt. No. 1820]
staying discovery against Thomson Consumer Electronics, Inc., so it is not participating in discovery.

3 The parties agree that defendants may submit opening expert reports regarding any affirmative defenses for which
they have the burden of proof and will also have the opportunity to reply.

“ The parties also reserve the right to seek permission to submit sur-rebuttal reports to the extent that rebuttal reports
contain new quantitative analyses or otherwise require a response.
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Attachments

cc:

All counsel of record

fs/ Philip J. loveno

Philip J. Iovieno

Boies, Schiller & Flexner LLP

On behalf of Direct Action Plaintiffs

/s/ R. Alexander Saveri

R. Alexander Saveri

Saveri & Saveri, Inc.

Interim Lead Counsel for the Direct Purchaser
Plaintiffs

/s/ Mario N. Alioto

Mario N. Alioto

Trump Alioto Trump & Prescott LLP

Interim Lead Counsel for the Indirect Purchaser
Plaintiffs

/s/ Emilio E. Varanini
Emilio E. Varanini
Lead Counsel for Plaintiffs State of California et al.

